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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CYNTHIA WARMBIER, individually and )
as personal representative of the Estate of )
Otto Warmbier,                               )
                                             )
FREDERICK WARMBIER, individually )
                                             )
and as personal representative of the Estate
                                             )
of Otto Warmbier,                            )
                                             )
      Plaintiffs,                            )
                                             )
v.                                           )      Civil Case No. 1:18-cv-00977
                                             )
DEMOCRATIC PEOPLE’S REPUBLIC )
OF KOREA,                                    )
c/o Foreign Minister Ri Yong Ho              )
Ministry of Foreign Affairs                  )
Jungsong-Dong, Central District              )
                                             )
Pyongyang, DPRK                              )
                                               )
      Defendant.                               )



                                         COMPLAINT

       Plaintiffs, the surviving parents of Otto Warmbier, allege as follows:

                                      INTRODUCTION

       1.     This action is brought against the Democratic People’s Republic of Korea (“North

Korea”) pursuant to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. § 1602, et seq. It

arises from North Korea’s hostage taking, illegal detention, torture and killing of a young

American tourist, Otto Warmbier (“Otto”). In an attempt to extract various concessions from the

United States government, North Korea detained Otto, forced him to falsely “confess” to an act of

subversion on behalf of the United States government, tortured him, kept him in detention for a

year and a half without allowing him to communicate with his family, and returned him to them

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in a non-responsive state and brain dead. As a direct and proximate result of North Korea’s actions,

Otto died at 22, mere days after his release. North Korea has repeatedly lied about the causes of

Otto’s condition and refuses to acknowledge its abhorrent actions. In fact, North Korea, which is

a rogue regime, took Otto hostage for its own wrongful ends and brutally tortured and murdered

him. Plaintiffs are Otto’s parents, who bring this lawsuit on their own behalf and on behalf of Otto

to obtain justice for the severe injuries North Korea has caused them to endure.

                                          THE PARTIES

       2.      Otto died at age 22 on June 19, 2017 in Cincinnati, Ohio after enduring torture,

extreme emotional distress and mental anguish, and other mistreatment at the hands of North

Korea. Upon his death and for the entire period of time underlying this lawsuit, Otto was a national

of the United States and a domiciliary of Ohio.

       3.      Plaintiffs Cynthia Warmbier (“Cindy”) and Frederick Warmbier (“Fred”) are the

mother and father of Otto. They are now, and have been for the entire period of time underlying

this lawsuit, nationals of the United States and domiciliaries of Ohio. As a result of their son’s

torture and death, Cindy and Fred have each experienced the loss of their son’s society,

companionship, comfort, advice and counsel and have suffered severe mental anguish, extreme

emotional distress and solatium damages.

       4.      Cindy and Fred were appointed the co-administrators of the estate of Otto

Warmbier on September 14, 2017. In addition to acting on their own behalf, they bring this action

as the personal representatives for the exclusive benefit of the heirs of Otto.

       5.      Defendant North Korea is a foreign state within the meaning of 28 U.S.C. § 1603,

and includes its officials, employees, agents, and other instrumentalities.




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        6.      Defendant North Korea was designated as a state sponsor of terrorism pursuant to

section 6(j)(i) of the Export Administration Act of 1979 (50 U.S.C. App. 2405(j)), and as continued

in effect by Executive Order 13222 of August 17, 2001, section 620A(a) of the Foreign Assistance

Act of 1961, Public Law 87-195, as amended (22 U.S.C. 2371(c)), and section 40(f) of the Arms

Export Control Act, Public Law 90-629, as amended (22 U.S.C. 2780(f)), on or about November

17, 2017. 82 Fed. Reg. 56100 (Nov. 27, 2017). It was so designated as a result of the acts herein

described. 28 U.S.C. § 1605A(a)(2)(A)(i)(I).

                                 JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§

1330(a), 1367, and 1605A because North Korea committed acts of torture, hostage taking, and

extrajudicial killing.

        8.      This Court has personal jurisdiction pursuant to 28 U.S.C. § 1330(b) because it has

subject matter jurisdiction pursuant to 28 U.S.C. § 1330(a) and because service of this Complaint

is being made pursuant to 28 U.S.C. § 1608.

        9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(f)(4).

                                  FACTUAL ALLEGATIONS

North Korea’s Detention, Hostage Taking, Torture, and Killing of Otto

        10.     North Korea, through its officials, employees, agents, and other instrumentalities,

intentionally ordered, directed and caused the torture, hostage taking, and extrajudicial killing of

Otto and the resulting harm to Plaintiffs.

        11.     Otto was born on December 12, 1994 in Cincinnati, Ohio. He was Fred and Cindy’s

first child, and the older brother to Fred and Cindy’s other two children, Austin and G.W.




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       12.     Otto graduated as the salutatorian of Wyoming High School in 2013 and was a

National Merit scholar and homecoming king. He enrolled in the University of Virginia (“UVA”)

later that same year. At UVA, Otto pursued a major in economics and had earned enough credits

to graduate as a sophomore. Otto also spent one summer studying at the London School of

Economics. Otto loved working with numbers and learning about the management of companies,

working for a time at an investment bank on Wall Street. He planned to pursue further education

in the fields of business and finance.

       13.     Otto was an athletic young man and was the captain of the soccer team in high

school. Prior to his hostage taking and torture in North Korea, he never had any significant health

issues, had no scarring or wounds on his feet and had straight, well-aligned teeth.

       14.     In the spring semester of Otto’s junior year at UVA, Otto was scheduled to

participate in a study abroad program in Hong Kong. Prior to the scheduled beginning of that

program, Otto traveled in Asia in December 2015. Otto had turned 21 years old earlier that month.

       15.     During that trip, Otto took a tour to North Korea through Young Pioneer Tours, a

China-based tour operator that catered to Westerners. Otto believed this was an opportunity to

understand how people lived in one of the only closed societies in the world. Although the State

Department later banned Americans from traveling to North Korea less than a month after Otto’s

death, citing “mounting concerns over the serious risk of arrest and long-term detention under

North Korea’s system of law enforcement,” at the time of Otto’s trip hundreds of Americans visited

North Korea each year.

       16.     North Korea is a single-party, totalitarian state. Kim Jong Un is the country’s

marshal and the supreme commander of the Korean People’s Army. As reported in the State




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Department’s 2016 Human Rights Report for the country, citizens do not have the ability to choose

their own government and “[t]he judiciary was not independent and did not provide fair trials.”

       17.     Earlier in December 2015, the same month Otto arrived in North Korea, the United

States had announced new sanctions on North Korea over its weapons proliferation activities.

       18.     Otto’s tour in North Korea lasted five days. When his tour group was at the

Pyongyang Sunan International Airport on their scheduled departure date of January 2, 2016, Otto

was suddenly and without explanation detained while going through security by North Korean

officials, and was prevented from leaving the country with the rest of the group.

       19.     Just four days later, North Korea claimed that it had conducted a successful test of

a nuclear hydrogen bomb. It stated that the test was conducted to enhance its self-defense

capabilities against the United States. This was the first time in three years that it had reported

detonating a nuclear weapon.

       20.     Nearly three weeks after Otto’s initial detention, on January 22, 2016, North

Korea’s state media outlet, the Korean Central News Agency (“KCNA”) – a de facto mouthpiece

for the regime – reported that Otto had been arrested for perpetrating a hostile act against North

Korea. The report stated that he entered the country under the guise of being a tourist and plotted

against North Korea under the manipulation of the U.S. government.

       21.     Just over two weeks after that announcement, on February 7, 2016, North Korea

fired a long range rocket. The launch was subsequently condemned by the United Nations as using

ballistic missile technology, and the U.S. House of Representatives condemned it in a resolution

later that month. H. Con. Res. 116.

       22.     On February 18, 2016, the United States imposed expanded sanctions on North

Korea. North Korea Sanctions and Policy Enhancement Act of 2016 (H.R. 757, Pub. L. 114–122).



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Versions of this legislation had been pending in the House and Senate since February (House) and

July (Senate) 2015.

       23.       Later that month, on February 29, 2016, North Korea forced Otto to make a false

“confession” during a televised “press conference” that was actually the words of the North Korean

regime forced through Otto’s mouth. The statement was televised and released by North Korea to

provide a façade of legitimacy to their lawless hostage taking of Otto, and to connect his continued

detention to U.S. government policy towards North Korea. After being escorted in by uniformed

guards, Otto read the prepared statement. The statement and his answers to the planned questions

that followed were claiming facts that were untrue, scripted and coerced, using extremely unnatural

language consistent with the language typically employed by the North Korean regime and not

that of a 21-year old American college student. Otto was distraught during the conference,

pleading for help to save his life several times and begging for forgiveness and to be returned home

to his family.

       24.       Otto began by “beg[ging] for any assistance to save my life.” He “confessed” to

the crime of taking down a political slogan in the staff-only area of the hotel where his tour group

was staying. He stated that this “task was given by the Friendship United Methodist Church,” a

church in Cincinnati, in exchange for the promise of a used car, so that the poster could be hung

in the church “as a trophy.” Otto explained that “[t]he United States administration and the

politicians use the Friendship United Methodist Church to harm the DPR Korea by all dirty ways

and means.” In fact, Otto had no contact with the Friendship United Methodist Church and it is

not used by the U.S. government in the manner falsely alleged. Otto also stated that he prepared

extensively for this crime before departing the United States, including that he “intentionally

packed my quietest boots, the best for sneaking.”



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       25.     Otto further stated that his “crime” was conducted “[a]t the encouragement of the

Z Society,” a secret society at UVA that Otto stated was “closely linked” to the CIA, and at “the

connivance of the United States administration.” In fact, Otto had no contact with the Z Society,

and it is not linked to the CIA. He referenced actions of the U.S. government throughout his

statement, including claiming to be “a victim of the United States administration’s consistent,

hostile policies against the DPR Korea.” The press conference ended with Otto providing

obviously prepared answers he was forced to provide in response to scripted questions from the

audience.

       26.     Several days after Otto’s statement, on March 2, 2016, the United Nations Security

Council voted unanimously to impose additional penalties against North Korea in response to its

nuclear test in January. Res. 2270 (March 2, 2016).

       27.     The following day, on March 3, 2016, Kim Jong Un threatened preemptive nuclear

strikes and ordered his country’s nuclear weapons to be ready for use at a moment’s notice. On

March 10, 2016, North Korea fired two Scud missiles.

       28.     Just over two weeks after Otto’s false “confession” at the press conference, on

March 16, 2016, KCNA reported that an hour-long “trial” was held where Otto was convicted by

the non-independent judiciary of North Korea of a charge of state subversion and sentenced to

fifteen years of hard labor. KCNA stated that Otto committed the act “pursuant to the U.S.

government’s hostile policy” towards North Korea. Only short excerpts of the “trial” were

released, and no public court records are available. In the video clips that were released, Otto’s

hands appeared turned inward in an unnatural position. The event was called a “kangaroo court”

by Human Rights Watch. U.S. State Department spokesman Mark Toner commented that it was




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“clear” that DPRK was using Otto “for political purposes.” Chicago Tribune, North Korea

sentences Virginia student to 15 years hard labor (Mar. 16, 2016).

        29.     The day before Otto’s “trial,” President Obama had signed an Executive Order

imposing a variety of sanctions on North Korea, citing its “continuing pursuit of nuclear and

missile programs.” Executive Order 13722 of March 15, 2016, 81 Fed. Reg. 14943. North Korea

held Otto’s “trial” on the day this Executive Order was to become effective. Id. at 14946 (effective

date of March 16, 2016).

        30.     Two days after Otto’s “trial” and sentencing, North Korea launched two mid-range

ballistic missiles.

        31.     Otto languished in North Korean detention for an additional fifteen months after

his “trial,” for a total of seventeen and a half months. During this time Otto was never allowed to

communicate with family by any means. North Korea did not allow information about Otto to be

released for well over a year, leaving his family in agony wondering whether he was healthy and

safe.

        32.     During this time, North Korea repeatedly demanded to U.S. government officials

that the United States take various actions, such as removing sanctions, as a condition of Otto’s

release. As these demands were unsuccessful, North Korea escalated its rhetoric, calling Otto a

prisoner of war and a war criminal.

        33.     On July 6, 2016, the U.S. Department of the Treasury’s Office of Foreign Assets

Control (“OFAC”) imposed additional sanctions, designating top officials of the North Korean

regime, including Kim Jong Un, “for having engaged in, facilitated, or been responsible for an

abuse or violation of human rights.” A top official stated that the sanctions “highlight the U.S.

Government’s condemnation of this regime’s abuses and our determination to see them stopped.”



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U.S. Department of the Treasury, Treasury Sanctions North Korean Senior Officials and Entities

Associated with Human Rights Abuses (July 6, 2016), available at https://www.treasury.gov/press-

center/press-releases/Pages/jl0506.aspx.

         34.    Several bills that would impose increased sanctions on North Korea were also

pending in the House of Representatives during this time. See H.R. 5208 (North Korea State

Sponsor of Terrorism Designation Act of 2016); H.R. 6281 (Block Access to North Korea Act of

2016).

         35.    Throughout the period of Otto’s detention, North Korea continued to escalate its

program of almost monthly rocket and missile launches. It also continued its nuclear efforts,

announcing on September 9, 2016, that it had conducted a “higher level” nuclear warhead test.

         36.    Over a year after Otto’s “trial,” in early June 2017 the Warmbiers were notified by

a State Department official that Otto was in a coma and had been in that condition for a year. After

further meetings between government representatives, North Korea released Otto from its custody,

and he was medically evacuated to Cincinnati, Ohio, arriving on June 13, 2017.

         37.    The physician on the flight that evacuated Otto from North Korea has stated that

the hospital in Pyonyang from which Otto was retrieved had poor sanitary conditions, antiquated

equipment and personnel shortages, and that he believed that North Korea might not release Otto

unless he wrote a falsely positive evaluation of Otto’s medical condition. Neil McGahee, Bringing

Otto Home, The Daily Tribune News (Feb. 24, 2018).

Otto’s Return to the United States and Untimely Death

         38.    Otto’s parents were at the airport in Cincinnati when the plane carrying Otto landed.

When they arrived on the plane, they were stunned to see his condition. Otto was blind and deaf.

He had a shaved head, a feeding tube coming out of his nose, was jerking violently and howling,



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and was completely unresponsive to any of their efforts to comfort him. They also noticed that his

once straight teeth were now misaligned and had been forced into abnormal positions, particularly

in the front of his mouth.

       39.     Otto was transported to the medical center at UC Health where physicians

conducted a number of tests. Based on those tests and their observations, they concluded that he

was severely brain damaged and that his condition was unrecoverable. They also concluded that

his extensive loss of brain tissue was caused by an earlier hypoxic-ischemic brain injury caused

by the cessation or severe reduction of blood flow to the brain. When Otto originally traveled to

North Korea, he was a healthy and physically active young man and had no physical condition that

would cause the cessation or severe reduction of blood flow to the brain that occurred while he

was in North Korean custody.

       40.     A highly incomplete set of medical records that arrived from North Korea with Otto

showed that brain damage existed on a scan dated April 2016, a month after his trial.

       41.     Otto’s family and physicians also observed a scarred wound on Otto’s left foot, not

present prior to his departure for Asia in December 2015. North Korea has offered no explanation

for this wound.

       42.     Otto’s physicians concluded that his condition would never improve. Thus, Fred

and Cindy instructed physicians to provide palliative care measures and cease feeding and

breathing assistance. Otto died on June 19, 2017, at the age of 22, of the injuries inflicted by North

Korea. North Korea caused Otto’s severe and unrecoverable brain damage, and placed Otto in a

condition where he could not survive on his own. Otto’s tragic death was directly and proximately

caused by and was a direct and foreseeable result of the torture and mistreatment that North Korea

and its agents inflicted upon Otto.



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       43.     Cognizant of its illegal actions and in an effort to explain how a formerly healthy

21-year-old man could end up in such a condition, North Korea has falsely claimed that Otto

contracted botulism and was then given a sleeping pill.          Otto’s physicians conducted an

electromyography test and found no evidence of botulism or the lasting nerve damage that would

be expected had Otto contracted botulism in the past. Botulism also would not typically cause the

cessation of blood flow to the brain that was the cause of Otto’s injury. Nor would a sleeping pill

be a treatment for botulism. North Korea’s false explanations for Otto’s condition demonstrate

that is it covering up its torture and mistreatment of Otto while he was in North Korean custody.

       44.     After Otto’s death, North Korea released a lengthy statement on June 23, 2017

including the following. These statements confirm that North Korea detained and continued to

detain Otto in connection with its policy disputes with the United States:

      Otto had acted “on an assignment from an anti-DPRK plot-breeding organization
       of the U.S.” and the CIA.

      “Although we had no reason at all to show mercy to such a criminal of the enemy
       state, we provided him with medical treatments and care with all sincerity on
       humanitarian basis until his return to the U.S., considering that his health got
       worse.”

      “Warmbier is a victim of policy of ‘strategic patience’ of Obama who was
       engrossed in utmost hostility and negation against the DPRK and refused to have
       dialogue with the DPRK.”

       45.     As recently as the fall of 2017, North Korea has continued to evade and lie about

the cause of Otto’s death, calling it a “mystery” and blaming it on the United States’ government.

The New York Times, In North Korea, Confronting Them on the Death of Otto Warmbier

(October 5, 2017).

       46.     United States officials have publicly confirmed that North Korea tortured and

killed Otto. For example:


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      The New York Times reported on June 14, 2017 that “[a] senior American official
       has said the United States obtained intelligence reports that [Otto] had been
       repeatedly beaten.” Choe Sang-Hun, Austin Ramzy, & Motoko Rich, Otto
       Warmbier Got an Extra Dose of Brutality from North Korea. The Mystery is Why,
       N.Y.              Times,              June              14,              2017,
       https://www.nytimes.com/2017/06/14/world/asia/north-korea-otto-warmbier-
       .html.

      President Trump stated on September 26, 2017 that “Otto was tortured beyond
       belief by North Korea.” Donald J. Trump (@realDonaldTrump), Twitter (Sept.
       26,                      2017,                    4:14                 AM),
       https://twitter.com/realdonaldtrump/status/912636538156146688?lang=en.

      Senator John McCain, the chairman of the Senate Armed Services Committee,
       stated on June 19, 2017 that Otto was “tortured and murdered by [North Korea].”
       John McCain (@SenJohnMcCain), Twitter (June 19, 2017, 3:42 PM)
       https://twitter.com/senjohnmccain/status/876933249007747072?lang=en

      U.N. Ambassador Nikki Haley stated on July 5, 2017 that “Otto Warmbier is but
       one person out of millions who have been killed, tortured, or deprived of their
       human rights by the North Korean regime.” Nikki Haley, U.S. Permanent
       Representative to the U.N., Remarks at an Emergency UN Security Council
       Meeting on Nonproliferation in the DPRK (July 5, 2017),
       https://usun.state.gov/remarks/7890.

Relevant Background on North Korea

       47.     Otto Warmbier is not the first innocent American to be taken hostage, tortured, and

killed by North Korea. In fact, North Korea’s history and practice teaches that it regularly seizes

and detains innocent Americans to support the regime’s agenda. As Human Rights Watch reported

in the wake of Otto’s death, North Korea has a “practice of seizing foreign nationals for political

purposes.” Phil Robertson, Death of Otto Warmbier Highlights North Korea Rights Abuses,

Human Rights Watch (June 20, 2017), available at https://www.hrw.org/news/2017/06/20/death-

otto-warmbier-highlights-north-korea-rights-abuses.

       48.     Indeed, courts in this Circuit have previously held that North Korea has committed

torture, extrajudicial killing, and/or hostage taking in at least two previous cases. In Massie v. The

Government of the Democratic People’s Republic of Korea, 592 F. Supp. 2d 57 (D.D.C. 2008),

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the court held that several members of the crew of the naval vessel USS Pueblo were victims of

torture and hostage taking by North Korea during a year of detention in 1968. One “common and

extremely painful torture was to force a captive to hold a chair above his head while kneeling or

squatting with a board or stick behind his knees.” Id. at 64. Physical beatings “were accompanied

by intimidation and threats that the crew members would be shot as spies if they did not confess.”

Id. The goal of this treatment was “to extract confessions from them that they were spying on

North Korea in North Korean waters,” so that the United States would apologize for that incursion.

Id. at 65, 67.

        49.      In Han Kim v. Democratic People’s Republic of Korea, 774 F.3d 1044 (D.C. Cir.

2014), the court held that North Korea was responsible for the kidnapping, torture and extrajudicial

killing of an American reverend providing humanitarian services to North Korean refugees and

defectors. The court pointed to expert testimony that “a foreigner abducted by the DPRK for

political purposes . . . would have been singled out for exceptionally painful, brutal, and outrageous

treatment” and that the victim in that case likely died “as a result of his torture and malnutrition.”

Id. at 1050.

        50.      Other recent U.S. prisoners in North Korea who were eventually returned home

have described the physical and mental abuse they experienced. For example, Laura Ling, a

journalist, was kicked in the face and shoulder and struck with a rifle butt in the head. Laura Ling

& Lisa Ling, Somewhere Inside 17-18 (2011). She was also threatened with death if she did not

falsely confess to an offense she did not commit. Id. at 38. Similarly, Kenneth Bae, an evangelical

Christian missionary, was interrogated for up to fifteen hours a day for a month and threatened

with death numerous times. Kenneth Bae with Mark Tabb, Not Forgotten 55, 58 (2016); Rick

Gladstone, Kenneth Bae, Longest-Held U.S. Prisoner of North Korea, Reveals Details of Ordeal,



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N.Y.             Times           (May            2,           2016),           available           at

https://www.nytimes.com/2016/05/03/world/asia/kenneth-bae-longest-held-us-prisoner-of-north-

korea-reveals-details-of-ordeal.html.

        51.      A 2016 State Department report noted that defectors from North Korea “continued

to report extrajudicial killings, disappearances, arbitrary detention, arrests of political prisoners,

and torture. The judiciary was not independent and did not provide fair trials.” U.S. State

Department, Democratic People’s Republic of Korea 2016 Human Rights Report at 1. “Numerous

defector accounts and NGO reports described the use of torture by authorities in several detention

facilities:”

        Methods of torture and other abuse reportedly included severe beatings; electric
        shock; prolonged periods of exposure to the elements; humiliations such as public
        nakedness; confinement for up to several weeks in small ‘punishment cells’ in
        which prisoners were unable to stand upright or lie down; being forced to kneel or
        sit immobilized for long periods; and being hung by the wrists or forced to stand
        up and sit down to the point of collapse. Mothers were in some cases reportedly
        forced to watch the infanticide of their newborn infants.

Id. at 3. Many prisoners die from the torture they suffer. Id. Moreover, “political prisoners were

subject to harsher punishments and fewer protections than other prisoners and detainees.” Id. at

9.

        52.      While only North Korea knows precisely what torture and mistreatment it inflicted

on Otto—and so far it has chosen to release only patent falsehoods regarding its actions—the

backdrop of North Korea’s longstanding and consistent abuse and mistreatment of American

detainees and other political prisoners, combined with his conditions and injuries upon release,

demonstrate that North Korea tortured Otto and deliberately caused his death.


U.S. Re-listing of North Korea as a State Sponsor of Terrorism




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       53.     North Korea was designated by the State Department as a State Sponsor of

Terrorism from 1988 to 2008.

       54.     On October 20, 2017, sixteen Congressmen sent a letter to the Secretary of State

Rex Tillerson urging him to list North Korea as a state sponsor of terrorism, noting that since it

“was removed from the State Sponsors of Terrorism list in 2008, the Kim regime has repeatedly

perpetrated or supported heinous acts, the most recent example of which was the illegitimate

detention, murderous mistreatment, and tragic death of Otto Warmbier.”

       55.     On October 24, 2017, the House passed the “Otto Warmbier North Korea Nuclear

Sanctions Act,” H.R. 3898, which House Majority Leader Kevin McCarthy described as “the most

far-reaching sanctions Congress will ever have imposed on North Korea. . . . Those who do

business with North Korea support a brutal dictatorship that tortured and murdered Otto

Warmbier—not because he committed a crime or threatened the North Korean government in any

way, but because he was an American.” On November 7, 2017, the U.S. Senate Committee on

Banking, Housing and Urban Affairs passed the “Otto Warmbier Banking Restrictions Involving

North Korea Act of 2017.”

       56.     On November 20, 2017, President Trump announced that he was re-designating

North Korea as a state sponsor of terrorism. He stated that “[a]s we take this action today our

thoughts turn to Otto Warmbier, a wonderful young man, and the countless others so brutally

affected by the North Korean oppression.” The official listing by the U.S. Department of State

was published a week later. 82 Fed. Reg. 56100 (Nov. 27, 2017). This relisting of North Korea

was a result of its torture, hostage taking and extrajudicial killing of Otto and the related

circumstances giving rise to this complaint.

                           FIRST CLAIM FOR RELIEF
                  ACTION FOR DAMAGES UNDER 28 U.S.C. § 1605A(c)

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       57.       The preceding allegations are incorporated and re-alleged as if fully set forth herein.

       58.       Anti-terrorism provisions codified at 28 U.S.C. § 1605A establish a federal cause

of action against North Korea for the personal injury and death it caused by committing the hostage

taking, torture and extrajudicial killing of Otto. Section 1605A(c) provides that a private right of

action for personal injury or death lies where:

       a) The defendant is a foreign state was designated as a state sponsor of terrorism at
       the time the relevant acts occurred or was so designated as a result of such acts, and
       remains so designated when the claim is filed;

       b) The plaintiff is a national of the United States or a legal representative of a
       national of the United States;

       c) The defendant committed, among other things, hostage taking, torture, and/or
       extrajudicial killing that caused plaintiff’s personal injury or death; and

       d) The court has jurisdiction, which, in addition to the elements just described,
       requires that where the relevant acts occurred in the foreign state against which the
       claim has been brought, the plaintiff “has afforded the foreign state a reasonable
       opportunity to arbitrate the claim in accordance with the accepted international
       rules of arbitration.”

       59.       All necessary elements of Section 1605A(c) are satisfied here. North Korea was

designated as a state sponsor of terror as a result of its treatment of Otto and remains so designated

at the time this action is filed. Supra ¶¶ 6, 56. All Plaintiffs are and were U.S. nationals. Supra ¶

3. North Korea’s treatment of Otto constituted hostage taking, torture, and extrajudicial killing, as

described below. This Complaint will be served on North Korea along with an offer to arbitrate.

Simpson v. Socialist People’s Libyan Arab Jamahiriya, 326 F.3d 230, 233 (D.C. Cir. 2003).

       60.       “Hostage taking” is defined under Section 1605A(h) as having the meaning given

that term in Article 1 of the International Convention Against the Taking of Hostages, which in

turn provides:




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       Any person who seizes or detains and threatens to kill, to injure or to continue to
       detain another person (hereinafter referred to as the “hostage”) in order to compel
       a third party, namely, a State, an international intergovernmental organization, a
       natural or juridicial person, or a group of persons, to do or abstain from doing any
       act as an explicit or implicit condition for the release of the hostage commits the
       offence of taking of hostages (“hostage-taking”) within the meaning of this
       Convention.

United Nations, International Convention against the taking of hostages, No. 21931, Article I

(Dec. 17, 1979). Here, North Korea detained and continued to detain Otto in an effort to extract

concessions from the United States to cease sanctions and allow its continued weapons

proliferation, and expressly demanded such concessions from U.S. government officials as a

condition of Otto’s release. North Korea timed key public events in Otto’s detention in conjunction

with sanctions, nuclear testing, and missile launching, intentionally linking Otto’s detention to its

strategic objectives. Further, North Korea stated after Otto’s death that Otto was a victim of the

United States’ refusal to negotiate with North Korea.

       61.     Section 1605A(h) defines “torture” by reference to Section 3 of the Torture Victim

Protection Act (“TVPA”) of 1991, 28 U.S.C. § 1350 note, which states:

       (1) the term ‘torture’ means any act, directed against an individual in the offender’s
       custody or physical control, by which severe pain or suffering . . . whether physical
       or mental, is intentionally inflicted on that individual for such purposes as obtaining
       from that individual . . . information or a confession, punishing that individual for
       an act that individual . . . has committed or is suspect of having committed,
       intimidating or coercing that individual . . . or for any reason based on
       discrimination of any kind . . . .

       (2) mental pain or suffering includes prolonged mental harm caused by or resulting
       from—
              (A) the intentional infliction or threatened infliction of severe physical pain
              or suffering;

               (B) the administration or application, or threatened administration or
               application, of mind altering substances or other procedures calculated to
               disrupt profoundly the senses or the personality; [or]

               (C) the threat of imminent death . . . .

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North Korea knows what it did to a healthy young man in its custody that resulted in his completely

non-responsive state and ultimate death. Its meager proffered explanations, put forth only long

after Otto supposedly was put into his permanently brain-damaged state, are patently false and an

obvious cover up. North Korea tortured Otto, as reflected in Otto’s coerced public statement, in

his condition upon return to the United States, North Korea’s demonstrably false claim of botulism,

the statements of the President and other senior U.S. officials, and North Korea’s documented

treatment of many other American and other detainees.

       62.     Otto was subjected to both physical and mental torture. Physically, he returned

destroyed in a state of unresponsive wakefulness with a devastating brain injury; he also had a

large scar on his left foot and traumatic dental injuries all of which resulted from North Korea’s

torture. Mentally, Otto’s “confession” was self-evidently coerced; in his televised “confession”

and televised excerpts of his “trial,” he appeared distressed and begged for his life several times.

Further, North Korea’s physical and mental torture of prisoners, particularly those detained for

political reasons, is well-documented. The torture it inflicts includes many methods that do not

leave any visible signs, especially when, as here, North Korea continues to unlawfully detain the

individual for months before returning him to the United States, allowing any visible signs to

dissipate. And, of course, by putting Otto in a state of unresponsive wakefulness, North Korea left

Otto unable to report the torture he endured.

       63.     Section 1605A(h) also defines “extrajudicial killing” by reference to the TVPA,

which defines it as “a deliberated killing not authorized by a previous judgment pronounced by a

regularly constituted court affording all the judicial guarantees which are recognized as

indispensable by civilized peoples.” Otto was sentenced to 15 years hard labor by North Korea;

he was not sentenced to death. The actions North Korea took to cause Otto’s condition when he

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arrived home were the cause of his death. The only explanation North Korea has offered for his

death--botulism and a sleeping pill--were not consistent with what Otto’s UC Health physicians

observed. Thus, based on North Korea’s concealment and known treatment of other prisoners, it

is evident that it took deliberate actions that caused Otto’s death.

       64.     The hostage taking, torture, and extrajudicial killing of Otto caused him, his estate,

and Cindy and Fred to suffer severe injury, including conscious pain and suffering, pecuniary loss

and loss of income, loss of guidance, companionship and society, loss of consortium, severe

emotional distress and mental anguish, and loss of solatium.

       65.     As a direct and proximate result of North Korea’s conduct, Plaintiffs suffered the

injuries and harm described herein, and North Korea is liable for the full amount of their damages.

       66.     The conduct of North Korea was criminal, outrageous, extreme, wanton, willful,

malicious, and constitutes a threat to the public warranting an award of punitive damages under 28

U.S.C. § 1605A(c).

                              SECOND CLAIM FOR RELIEF
                             WRONGFUL DEATH & SURVIVAL

       67.     The preceding allegations are incorporated and re-alleged as if fully set forth herein.

       68.     North Korea is liable for wrongful death because it caused Otto’s death by wrongful

act, neglect, or default that would have entitled Otto to recover damages if he had not died; thus,

Otto’s personal representatives may recover damages from North Korea.

       69.     North Korea is also liable in a survival action for the pain and suffering Otto

experienced at the hands of North Korea as well as his future earnings had his life not been cut

short by North Korea. Otto suffered great physical and mental anguish before his death as a result

of North Korea’s torture and other abuse.




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       70.     Because it wrongfully caused Otto’s death and great pain and physical and mental

anguish, North Korea is liable for compensatory damages including those resulting from the loss

of support from the reasonably expected earning capacity of Otto, funeral costs, loss of services

and society of Otto, and mental anguish incurred by Fred and Cindy. Further, North Korea’s

conduct was criminal, outrageous, extreme, wanton, willful, malicious and constitutes a threat to

the public warranting an award of punitive damages.

                         THIRD CLAIM FOR RELIEF
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       71.     The preceding allegations are incorporated and re-alleged as if fully set forth herein.

       72.     North Korea’s conduct was willful, outrageous, extreme and dangerous to human

life, and violates applicable criminal law and all international standards of civilized human conduct

and common decency.

       73.     North Korea intended to, and did, or at least acted with the reckless disregard of the

probability that it would, actually and proximately cause Plaintiffs’ psychological injury, including

egregious emotional distress, terror, severe mental anguish, and bereavement and grief. Plaintiffs,

including Otto, suffered serious mental anguish of a nature no reasonable person could be expected

to endure.

       74.     North Korea is therefore liable for the full amount of Plaintiffs’ damages. Further,

its conduct was criminal, outrageous, extreme, wanton, willful, malicious, and constitutes a threat

to the public warranting an award of punitive damages.

                               FOURTH CLAIM FOR RELIEF
                                 ASSAULT AND BATTERY

       75.     The preceding allegations are incorporated and re-alleged as if fully set forth herein.




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       76.     North Korea intended harmful or offensive contact with Otto without his consent

and intentionally took actions reasonably tending to create the apprehension of Otto that it was

about to apply such force to him, and did in fact cause such apprehension. It also willfully and

unlawfully applied force to the person of Otto.

       77.     North Korea is therefore liable for the full amount of Plaintiffs’ damages. Further,

its conduct was criminal, outrageous, extreme, wanton, willful, malicious, and constitutes a threat

to the public warranting an award of punitive damages.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

       (a)     Enter judgment against Defendant in favor of each Plaintiff, in an amount to be

determined by the Court, for both economic and non-economic compensatory damages as a result

of the personal injuries Plaintiffs have suffered due to Defendant’s tortious acts, including but not

limited to pain and suffering, loss of solatium, medical expenses, and loss of earnings, in an amount

to be determined;

       (b)     Enter judgment against Defendant in favor of each Plaintiff for punitive damages

because Defendant’s acts were intentional, malicious, and performed deliberately to injure,

damage, and harm each Plaintiff, in an amount to be determined;

       (c)     Enter judgment against Defendant for Plaintiffs’ costs, expenses, attorney’s fees,

and such other relief as this Court finds just and equitable; and

       (d)     Award all such other relief the Court deems just and proper.



Dated: April 26, 2018                         Respectfully submitted,


                                              MCGUIREWOODS LLP

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                          /s/ Benjamin L. Hatch
                          Benjamin L. Hatch (D.C. Bar # 1044804)
                          E. Rebecca Gantt (D.C. Bar # 988752)
                          McGUIREWOODS LLP
                          World Trade Center
                          101 W. Main St.
                          Suite 9000
                          Norfolk, VA 23510
                          Tel: 757 640 3727
                          Fax: 757 640 3947
                          bhatch@mcguirewoods.com

                          Richard Cullen (pro hac vice pending)
                          McGUIREWOODS LLP
                          Gateway Plaza
                          800 East Canal St.
                          Richmond, VA 23219
                          Tel: 804 775 1009
                          Fax: 804 698 2035
                          rcullen@mcguirewoods.com

                          Counsel for Plaintiffs




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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
   Cynthia Warmbier, individually and as personal                                  Democratic People's Republic of Korea
   representative of the Estate of Otto Warmbier, and
   Frederick Warmbier, individually and as personal
   representative of the Estate of Otto Warmbier
                                                     88888
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)
    Benjamin L. Hatch
    McGuireWoods LLP
    101 West Main Street Suite 9000
    Norfolk, VA 23510
    (757) 640-3727
 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

 o                          o                                                              PTF    DFT                              PTF                                     DFT

                                                                                                 o1 o1                                                       o4 o4
       1 U.S. Government          3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State                             Incorporated or Principal Place
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                    Federal Tax Suits                                 462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                         870 Taxes (US plaintiff or                        Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                          defendant)                               465 Other Immigration
      230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                        Actions
      240 Torts to Land                 Prisoner Petitions                                     7609                                     470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                     Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                              625 Drug Related Seizure of
                                                                                               Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                           690 Other                                    850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                      Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                          375 False Claims Act                          899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                                376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                        3729(a))                                      Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                  400 State Reapportionment                     950 Constitutionality of State
                                                Drug Application                          430 Banks & Banking                               Statutes
                                            840 Trademark                                 450 Commerce/ICC                              890 Other Statutory Actions
                                                                                              Rates/etc.                                    (if not administrative agency
                                                                                          460 Deportation                                   review or Privacy Act)
                             Case 1:18-cv-00977 Document 1-1 Filed 04/26/18 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Suit for hostage taking, torture, and extrajudicial killing under 28 U.S.C. § 1605A.

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $ TBA                                    Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


             04/26/2018
 DATE: _________________________                                                   /s/ Benjamin L. Hatch
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                     Case 1:18-cv-00977 Document 1-2 Filed 04/26/18 Page 1 of 2
                                                                                                   28 USC 1608 Summons
                                                                                                   12/11




                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA


             Warmbier, et al.
                                                         )
                        Plaintiff                        )
                                                         )
                v.                                       )               Civil Action No. 1:18-cv-00977
      Democratic People's Republic of Korea              )
                                                         )
                        Defendant                        )



                                          SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         Democratic People's Republic of Korea
                                         c/o Foreign Minister Ri Yong Ho
                                         Ministry of Foreign Affairs
                                         Jungsong-Dong, Central District
                                         Pyongyang, DPRK


        A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                      Benjamin L. Hatch, Esq.
                      McGuireWoods LLP
                      World Trade Center
                      101 West Main Street
                      Suite 9000
                      Norfolk, VA 23510
                      (757) 640-3727


      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                 ANGELA D. CAESAR, CLERK OF COURT



Date:
                                                                         Signature of Clerk or Deputy Clerk
                          Case 1:18-cv-00977 Document 1-2 Filed 04/26/18 Page 2 of 2
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&LYLO$FWLRQ1R 1:18-cv-00977

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

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                                                                              RQ(date)                          RU

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          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
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'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

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